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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA

   BEN LAPIN, Individually and On Behalf of        Case No. 6:20-cv-00357-GAP-GJK
   All Others Similarly Situated,
                                                   MOTION AND MEMORANDUM OF
                             Plaintiff,            LAW IN SUPPORT OF MOVANT
               vs.                                 SRIKALAHASTI M. VAGVALA TO:
                                                   (1) CONSOLIDATE RELATED
   TUPPERWARE BRANDS CORPORATION,                  ACTIONS; (2) APPOINT LEAD
   PATRICIA A. STITZEL, CHRISTOPHER D.             PLAINTIFF; AND (3) APPROVE
   O’LEARY, CASSANDRA HARRIS, and                  SELECTION OF COUNSEL
   MICHAEL POTESHMAN,
                                                   CLASS ACTION
                             Defendants.


   STEWART SCHREIBER and KAREN                     Case No. 6:20-cv-00507-GAP-GJK
   SCHREIBER, Individually and On Behalf of
   All Others Similarly Situated,
                                                   CLASS ACTION
                             Plaintiff,
               vs.

   TUPPERWARE BRANDS CORPORATION,
   PATRICIA A. STITZEL, CHRISTOPHER D.
   O’LEARY, CASSANDRA HARRIS, and
   MICHAEL POTESHMAN,

                             Defendants.


   THE ROSEN LAW FIRM, P.A.                        SAXENA WHITE P.A.
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   [Proposed] Lead Counsel for Proposed
   Lead Plaintiff and Class
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                                          MOTION

          Plaintiff Srikalahasti M. Vagvala (“Movant”), pursuant to Section 21D of the

   Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private

   Securities Litigation Reform Act of 1995 (the “PSLRA”), hereby moves this honorable

   Court on a date and at such time as may be designated by the Court, for an Order: (1)

   consolidating the related Securities Class Actions; (2) appointing Movant as Lead

   Plaintiff; and (3) approving the Movant’s selection of The Rosen Law Firm, P.A. to serve

   as Lead Counsel and Saxena White P.A. to serve as Liaison Counsel for the Class; and

   (4) granting such other and further relief the Court may deem just and proper.

          In support of this Motion, Movant submits herewith a Memorandum of Law, the

   Declaration of Brandon Grzandziel, and a [Proposed] Order, all dated April 27, 2020.

          Local Rule 3.01(g) requires a conference of counsel prior to filing motions. Due

   to the lead plaintiff procedure of the PSLRA, however, Movant does not yet know which

   other entities or persons plan to move for appointment as lead plaintiff until after all

   movants have filed their respective motions. Under these circumstances, Movant

   respectfully requests that the conferral requirement of Local Rule 3.01(g) be waived with

   respect to this Motion.

                                MEMORANDUM OF LAW

          Plaintiff Srikalahasti M. Vagvala (“Movant”) respectfully submits this

   memorandum of law in support of his motion for an Order, pursuant to Section

   21D(a)(3)(B) of the Securities Exchange Act of 1934 (the “Exchange Act”), as amended

   by the Private Securities Litigation Reform Act of 1995 (the “PSLRA”):



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             (1)     consolidating the related Securities Class Actions;

             (2)     appointing Movant as Lead Plaintiff for the class of all purchasers or

   otherwise acquired the securities of Tupperware Brands Corporation (“Tupperware” or

   the “Company”) between January 30, 2019, and February 24, 2020, inclusive (the “Class

   Period”); and

             (3)     approving Movant’s selection of The Rosen Law Firm, P.A. to serve as

   Lead Counsel and Saxena White P.A. to serve as Liaison Counsel for the Class.

                            INTRODUCTION AND BACKGROUND

             On February 25, 2020, the first of these cases was filed in the United States

   District Court for the Central District of California, styled as Jared Bertrim v.

   Tupperware Brands Corporation, et al., Case No. 2:20-cv-01798 (C.D. Cal.).1 The

   Bertrim Action alleges violations under the Exchange Act against the same defendants

   and for the same Class Period. That same day, an early notice pursuant to the PSLRA

   advising class members of, inter alia, the allegations and claims in the complaint, the

   Class Period, and advising class members of their option to seek appointment as Lead

   Plaintiff. See Declaration of Brandon Grzandziel (“Grzandziel Decl.”), Ex. 1, filed

   herewith.

             Thereafter, two related actions were filed in this Court. The Lapin action, was

   commenced in this Court on February 28, 2020, against Tupperware and certain of its

   officers for violations of Sections 10(b) and 20(a) of the Exchange Act, and Rule 10b-5

   promulgated thereunder. The related Schreiber action was commenced on March 20,


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       Movant intends to file a similar lead plaintiff motion in that action.


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   2020, alleging violations under the Exchange Act against the same defendants and for the

   same Class Period. The Lapin and Schreiber actions are collectively the related Securities

   Class Actions.

          Tupperware is a direct-to-consumer marketer of products sold around the world.

   Its brands include Tupperware, Avroy Shlain, Fuller, NaturCare, Nutrimetics, and Nuvo.

          The complaints allege that throughout the Class Period, Defendants made

   materially false and/or misleading statements, as well as failed to disclose material

   adverse facts about Tupperware’s business, operations, and prospects. Specifically,

   Defendants failed to disclose to investors that: (1) Tupperware lacked effective internal

   controls; (2) there were accounting irregularities relating to the Company’s Fuller Mexico

   business; (3) consequently, Tupperware would need to investigate those accounting

   irregularities and be unable to timely file its 2019 annual report; (4) Tupperware would

   need relief from its $650 million Credit Agreement; (5) Tupperware provided overvalued

   earnings per share guidance; and (6) as a result of the above, Defendants’ public

   statements were materially false and/or misleading at all relevant times. When the true

   details entered the market, the lawsuit claims that investors suffered damages.

          The Class Period begins on January 30, 2019. On that day, the Company issued a

   press release announcing its fourth quarter 2018 financial results providing a full-year

   2019 guidance of $3.86 to $4.01 GAAP EPS (compared to $3.11 from full-year 2018).

          On February 26, 2019, Tupperware filed a Form 10-K for its fiscal year ended

   December 29, 2018 with the SEC, which provided the Company’s financial results and

   was signed by Defendants Patricia A. Stitzel (“Stitzel”) and Michael Poteshman




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   (“Poteshman”). The February 26, 2019, Form 10-K contained signed certifications

   pursuant to the Sarbanes-Oxley Act of 2002 by Defendants Stitzel and Poteshman

   attesting to the accuracy of financial reporting, the disclosure of any material changes to

   the Company’s internal controls over financial reporting, and the disclosure of all fraud.

          On April 24, 2019, Tupperware issued a press release announcing its second

   quarter 2019 financial results and providing a full-year 2019 guidance of $3.65 to $3.76

   GAAP EPS (compared to $3.11 from full-year 2018). On October 30, 2019, Tupperware

   issued a press release announcing its third quarter 2019 results and providing full-year

   2019 guidance of $1.93 to $1.99 GAAP EPS (compared to $3.11 from full-year 2018).

          On November 6, 2019, Tupperware filed a Form 10-Q for the quarterly period

   ended September 28, 2019, with the SEC (the “3Q 2019 10-Q”), which provided the

   Company’s financial results and position. The 3Q 2019 10-Q also announced the $650

   million Credit Agreement, an amendment to its September 2013 credit agreement which

   increased the aggregate amount that may be borrowed.

          Then on February 24, 2020, when the Company issued a press release (the

   “February 24 Press Release”) announcing that the Company “will file a Form 12b-25

   Notification of Late Filing with the Securities and Exchange Commission to provide a

   15-calendar day extension within which to file its Form 10-K for the fiscal year ended

   December 28, 2019”, which stated further “[t]he Company is conducting an investigation

   primarily into the accounting for accounts payable and accrued liabilities at its Fuller

   Mexico beauty business to determine the extent to which these matters may further

   impact results and to assess and enhance the effectiveness of internal controls at this




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   business.” The February 24 Press Release also stated the following regarding the Fuller

   Mexico issues: “This matter is $9-11 million of the total expected $19-21 million full-

   year impact on an adjusted* pre-tax basis. In addition, total impairments for Fuller

   Mexico are expected to be approximately $31 million. The total pre-tax impact for 2019

   is approximately $50- $52 million.”

          The February 24 Press Release also stated the following regarding the $650

   million Credit Agreement: “the Company is forecasting a need for relief concerning its

   existing leverage ratio covenant in its $650 million Credit Agreement dated March 29,

   2019 (the "Credit Agreement"), to avoid a potential acceleration of the debt, which could

   have a material adverse impact on the Company.” Further, the February 24 Press Release

   also announced the following regarding the $650 million Credit Agreement: “In

   connection with the amendment, the Company and certain of its subsidiaries will provide

   additional collateral and subsidiary guarantees.”

          On this news, the Company’s stock price fell $2.61 per share, or over 45%, to

   close at $3.11 per share on February 25, 2020. As a result of Defendants’ wrongful acts

   and omissions, and the precipitous decline in the market value of the Company’s

   securities, Plaintiff and other Class members have suffered significant losses and

   damages.

                                         ARGUMENT

   I.     THE RELATED ACTIONS SHOULD BE CONSOLIDATED

          Consolidation of related cases is proper where, as here, the actions involve

   common questions of law and fact such that consolidation would prevent unnecessary




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    cost or delay in adjudication. When actions involving a common question of law or fact

    are pending before the court, it may order a joint hearing or trial of any or all of the

    matters at issue in the actions; it may order all the actions consolidated; and it may make

    such orders concerning proceedings therein as may tend to avoid unnecessary costs or

    delay. Fed. R. Civ. P. 42(a).

            The PSLRA contemplates consolidation where “more than one action on behalf of

    a class asserting substantially the same claim or claims arising under this chapter has

    been filed.” 15 U.S.C. §78u-4(a)(3)(A)(ii). As such, the PSLRA does not displace the

    traditional legal standards for consolidation under Fed. R. Civ. P. 42(a).

            Each of the above-captioned related actions has been filed in this District alleging

    similar factual and legal grounds to support allegations of violations of the Exchange Act

    by substantially similar Defendants arising from the public dissemination of false and

    misleading information to investors. Accordingly, the related Securities Class Actions

    should be consolidated pursuant to Fed. R. Civ. P. 42(a) for all purposes.

    II.     MOVANT SHOULD BE APPOINTED LEAD PLAINTIFF

            The PSLRA set forth procedures for the selection of Lead Plaintiff in class actions

    brought under the Act. The PSLRA provides a “rebuttable presumption” that the most

    “adequate plaintiff” to serve as Lead Plaintiff is the “person or group…” that:

                   (aa) has either filed the complaint or made a motion in response to a

    notice...;

                   (bb) in the determination of the Court, has the largest financial interest in

    the relief sought by the class; and




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                    (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of

    Civil Procedure.

    15 U.S.C. § 78u-4(a)(3)(B)(iii); see also Sherleigh Associates, LLC v. Windmere-Durable

    Holdings, Inc., 184 F.R.D. 688, 693 (S.D. Fla. 1999).

             As set forth below, Movant satisfies all three of these criteria and thus is entitled

    to the presumption that he is the most adequate plaintiff of the class and, therefore,

    should be appointed Lead Plaintiff.

             A.     MOVANT IS WILLING TO SERVE AS CLASS
                    REPRESENTATIVE

             Movant Srikalahasti M. Vagvala is a sophisticated businessperson. He is the Co-

    Founder of a global software-enabled, next-generation network and engineering company

    founded in 2007 and based in King of Prussia, PA. See Grzandziel Decl. Ex. 3, Vagvala

    Declaration (the “Vagvala Decl.”). He has timely filed this motion pursuant to the early

    notice and, as set forth in his certification filed concurrently herewith, attests that he has

    reviewed the Complaint and is willing to serve as representative of the class.            See

    Grzandziel Decl. Ex. 2. Mr. Vagvala also reiterated his commitment and willingness to

    serve as Lead Plaintiff in his Declaration. See Vagvala Decl. (“I am committed to

    prosecuting this action to maximize the recovery for all Tupperware investors.”).

    Accordingly, Movant has satisfied the first requirement to serve as Lead Plaintiff for the

    class.

             B.     MOVANT HAS THE LARGEST FINANCIAL INTEREST IN THE
                    ACTION




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           The PSLRA requires a court to adopt a rebuttable presumption that “the most

    adequate plaintiff . . . is the person … that . . . has the largest financial interest in the

    relief sought by the class” 15 U.S.C. § 78u-4(a)(3)(B)(iii); Edward J. Goodman Life

    Income Tr. v. Jabil Circuit, Inc., 2007 WL 170556, at *3 (M.D. Fla. Jan. 18, 2007). In

    determining the movant with the largest financial interest, Courts have employed the

    Olsten/Lax analysis: (1) the number of shares purchased during the class period; (2) the

    net number of shares purchased during the class period; (3) the total net funds expended

    during the class period; and (4) the approximate loss suffered during the class period. In

    re Comverse Technology, Inc. Secs. Litig., 2007 WL 680779 * 3 (E.D.N.Y. Mar. 2, 2007)

    (citing Lax v. First Merchants Acceptance Corp., 1997 WL 461036 * 5 (N.D. Ill. Aug.

    11, 1997); In re Olsten Corp. Secs. Litig., 3 F. Supp.2d 286, 296 (E.D.N.Y. 1998).

           Of the Lax/Olsten-styled factors in determining the largest financial interest, the

    financial loss is the most significant factor. See In re Fuwei Films Sec. Litig., 247 F.R.D.

    432, 437 (S.D.N.Y. 2008). Indeed, “the best yardstick by which to judge ‘largest financial

    interest’ is the amount of loss, period.” In re Bally Total Fitness, Sec. Litig., 2005 WL

    627960, at * 4 (N.D. Ill. Mar. 15, 2005).

           Movant lost approximately $10,365,052.57 in connection with his purchases of

    Tupperware securities. See Grzandziel Decl. Ex. 4. Accordingly, Movant satisfies the

    largest financial interest requirement to be appointed as Lead Plaintiff for the class.

           C.      MOVANT SATISFIES THE REQUIREMENTS OF RULE 23 OF
                   THE FEDERAL RULES OF CIVIL PROCEDURE

           Section 21D(a)(3)(B)(iii)(I)(cc) of the PSLRA further provides that, in addition to

    possessing the largest financial interest in the outcome of the litigation, the Lead Plaintiff


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    must “otherwise satisfy the requirements of Rule 23 of the Federal Rules of Civil

    Procedure.” Rule 23(a) provides that a party may serve as a class representative if the

    following four requirements are satisfied:

           (1) the class is so numerous that joinder of all members is impracticable,
           (2) there are questions of law or fact common to the class, (3) the claims
           or defenses of the representative parties are typical of the claims or
           defenses of the class, and (4) the representative parties will fairly and
           adequately protect the interests of the class.

           In making its determination that the Lead Plaintiff satisfies the requirements of

    Rule 23, the Court need not raise its inquiry to the level required in ruling on a motion for

    class certification -- a prima facie showing that the movants satisfy the requirements of

    Rule 23 is sufficient. In Fuwei Films Sec. Litig., 247 F.R.D. 432, 439 (S.D.N.Y. 2008)

    (only a prima facie showing is required) (citations omitted). Moreover, “typicality and

    adequacy of representation are the only provisions relevant to a determination of lead

    plaintiff under the PSLRA.” In re Oxford Health Plans, Inc. Sec. Litig., 182 F.R.D. 42,

    49 (S.D.N.Y. 1998).

           1.      Movant’s Claims are Typical

           The Rule 23(a) typicality requirement is satisfied when a plaintiff’s claims arise

    from the same event, practice or course of conduct that gives rise to other class members’

    claims and plaintiff’s claims are based on the same legal theory. See In re Livent, Inc.

    Noteholders Sec. Litig., 210 F.R.D. 512, 516 (S.D.N.Y. 2002). Rule 23 does not require

    the lead plaintiff to be identically situated with all class members. Id.

           Here, Movant’s claims are typical of the claims asserted by the Class. Movant,

    like all members of the Class, alleges that Defendants violated the Exchange Act by




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    issuing false and misleading statements about Tupperware’s business and financial

    condition. Movant’s interests are closely aligned with the other Class members’ and

    Movant’s interests are, therefore, typical of the other members of the Class.

           2.      Movant Is Adequate

           The adequacy of representation of Rule 23 is satisfied where it is established that

    a representative party has the ability to represent the claims of the class vigorously, has

    obtained adequate counsel, and there is no conflict between a potential representative’s

    claim and those asserted on behalf of the class. In re Cendant Corp. Litig., 264 F.3d. 201,

    265 (3d Cir. 2001).

           Here, as noted above, Movant is a sophisticated businessperson who has attested

    to this commitment to prosecute this action. See Vagvala Decl. Movant has researched

    and retained competent and experienced counsel concerning this case, and made this

    motion to be appointed as Lead Plaintiff. See Vagvala Decl. Movant is not aware that any

    conflict exists between their claims and those asserted on behalf of the Class. Movant

    also sustained substantial financial losses from investments in Tupperware securities and

    is therefore, extremely motivated to pursue claims in this action.

           D.      MOVANT IS PRESUMPTIVELY THE MOST ADEQUATE
                   PLAINTIFF

           The presumption in favor of appointing Movant as Lead Plaintiff may be rebutted

    only upon proof “by a purported member of the Plaintiffs’ class” that the presumptively

    most adequate plaintiff:

           (aa) will not fairly adequately protect the interest of the class; or




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           (bb) is subject to unique defenses that render such plaintiff incapable of

           adequately representing the class.

    15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

           The presumption that Movant is the most adequate Lead Plaintiff is not, therefore

    subject to rebuttal. Movant has suffered substantial financial losses and has the largest

    financial interest in this case of any timely lead plaintiff. The ability of Movant to

    represent the Class fairly and adequately is discussed above. Movant is not aware of any

    unique defenses Defendants could raise against it that would render Movant inadequate to

    represent the Class.

           Thus, the close alignment of interests between Movant and other class members,

    as well as his strong desire to prosecute this action on behalf of the class, provides ample

    reason to grant Movant’s motion to serve as Lead Plaintiff.

    III.   MOVANT’S SELECTION OF COUNSEL SHOULD BE APPROVED

           The PSLRA vests authority in the Lead Plaintiff to select and retain lead counsel,

    subject to the approval of the Court. 15 U.S.C. § 78u-4(a)(3)(B)(v). The Court should

    interfere with Lead Plaintiff’s selection only when necessary “to protect the interests of

    the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II)(aa); Plumbers & Pipefitters Local 51

    Pension Fund v. Darden Restaurants, Inc., 2008 WL 2608111, at *2 (M.D. Fla. July 1,

    2008) (when a law firm has prosecuted securities class actions in the past successfully,

    courts will generally not interfere with a lead plaintiff movant’s choice of counsel.).

           Movant has selected The Rosen Law Firm, P.A. to serve as Lead Counsel and

    Saxena White P.A. to serve as Liaison Counsel for the Class. The Rosen Law Firm has




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    been actively researching the class plaintiffs’ claims, reviewing financial and legal

    documents, seeking relevant data from third parties, and gathering other information in

    support of the claims against the Defendants, including filing the first securities class

    action, the Bertrim Action. Furthermore, The Rosen Law Firm, P.A. is experienced in the

    area of securities litigation and class actions and has successfully prosecuted securities

    litigation and securities fraud class actions on behalf of investors in courts across the

    country. See Grzandziel Decl., Ex. 5. Recently Institutional Shareholder Services, issued

    their “The Top 50 of 2019,” where The Rosen Law Firm, P.A. was ranked number 3 in

    the nation with a total of $483,340,000 in securities class action settlements in 2019.2

    Likewise, Saxena White P.A. possesses extensive experience litigating securities class

    actions and has successfully prosecuted numerous securities fraud class action on behalf

    of injured investors in this Court and in courts across the country. See Grzandziel Decl.,

    Ex. 6.

             As a result of the firms’ experience in litigation involving issues similar to those

    raised in this action, Movant’s counsel has the skill and knowledge to prosecute this

    action effectively and expeditiously. Thus, the Court may be assured that by approving

    Movant’s selection of Lead Counsel, the members of the class will receive the best legal

    representation available.

                                          CONCLUSION

             For the foregoing reasons, Movant respectfully requests that the Court issue an

    Order: (1) consolidating the related Securities Class Actions; (2) appointing Movant as


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        See, https://www.issgovernance.com/library/the-top-50-of-2019/


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    Lead Plaintiff for the Class; (3) approving Movant’s selection of The Rosen Law Firm,

    P.A. to serve as Lead Counsel and Saxena White P.A. to serve as Liaison Counsel for the

    Class; and (4) granting such other relief as the Court may deem to be just and proper.

    Dated: April 27, 2020                Respectfully submitted,

                                         SAXENA WHITE P.A.

                                         /s/ Brandon Grzandziel
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                                         [Proposed] Liaison Counsel for Proposed Lead
                                         Plaintiff and Class

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                                         [Proposed] Lead Counsel for Proposed Lead
                                         Plaintiff and Class




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                               CERTIFICATE OF SERVICE

           I hereby certify that on April 27, 2020, a true and correct copy of the foregoing
    document was served by CM/ECF to the parties registered to the Court’s CM/ECF
    system.

                                                      /s/ Brandon Grzandziel
                                                       Brandon Grzandziel




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